  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 1 of 7 PageID: 1




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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY

------------------------------------------------------
ROCCO CREEL, ADVOCATES FOR                             :   Hon. ___________________________
DISABLED AMERICANS                                     :   Case No. ___________________
                                                       :
                                 Plaintiffs,           :                Civil Action
                                                       :
v.                                                     :       NOTICE OF REMOVAL &
                                                       :       LOCAL CIVIL RULE 11.2
UNITED ARTISTS and or REGAL                            :       CERTIFICATION
ENTERTAINMENT                                          :
                                                       :
                                 Defendants.           :
------------------------------------------------------ :


TO:     CHIEF JUDGE AND JUDGES OF
        THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF NEW JERSEY

ON NOTICE TO:

        Anthony J. Brady, Jr., Esquire
        1 Rose Avenue
        P.O. Box 129
        Maple Shade, New Jersey 08052
        Attorney for Plaintiffs

        Clerk, Superior Court of New Jersey
        Law Division - Camden County
        1st Floor, Ste. 150
        101 South 5th Street
        Camden, NJ 08103
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 2 of 7 PageID: 2




        Michelle M. Smith, Esq., Clerk
        The Superior Court of New Jersey
        Richard J. Hughes Justice Complex
        25 W. Market Street, 6th Floor North Wing
        P.O. Box 971
        Trenton, New Jersey 08625


HONORABLE JUDGES:

        Defendant United Artists Theatre Company (“United Artists” or “Defendant”) (incorrectly

identified as “United Artists and/or Regal Entertainment”), by and through its counsel, Ogletree,

Deakins, Nash, Smoak & Stewart, P.C., hereby notices the removal of this action from the Superior

Court of New Jersey, Camden County, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, to the

United States District Court for the District of New Jersey. In support of this Notice, Defendant

states as follows:

                                 TIMELINESS OF REMOVAL

        1.      On or around August 11, 2016, Plaintiffs Rocco Creel and Advocates for Disabled

Americans (“Plaintiffs”) commenced a civil action against Defendant in the Superior Court of New

Jersey, Camden County, Docket No. L-2961-16, entitled Rocco Creel, Advocates for Disabled

Americans v. United Artists and/or Regal Entertainment, alleging violations of the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”), and the New Jersey Law Against

Discrimination, N.J.S.A. § 10:5-12 et seq. (“LAD”).

        2.      Plaintiffs effected service of the Summons and Complaint on Defendant on

September 13, 2016. A true and correct copy of the Complaint is attached hereto as Exhibit A.

        3.      These are the only process, pleadings, or orders known by Defendant to have been

served in this action.

        4.      Pursuant to 28 U.S.C. § 1446(b), a Notice of Removal must be filed within 30 days

after the receipt by defendant, through service of otherwise, of the Complaint.


                                                  2
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 3 of 7 PageID: 3




       5.      Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been

timely filed within 30 days after receipt by Defendant, through service or otherwise, of the

Complaint.

                                              VENUE

       6.      The Superior Court of New Jersey, Camden County, is located within the District of

New Jersey. 28 U.S.C. § 110. Therefore, venue is proper in this Court because it is the “district and

division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

                      BASIS FOR REMOVAL – FEDERAL QUESTION

       7.      This action is properly removable under 28 U.S.C. § 1441(b), because the United

Stated District Court has original jurisdiction of this action pursuant to 28 U.S.C. § 1331, which

provides, in relevant part, that the “district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.”

       8.      The Complaint alleges that Defendant violated the ADA and the LAD. (See Exh.

A, ¶ 10.)

       9.      By asserting a claim under federal law, namely the ADA, the Complaint asserts a

federal question under 28 U.S.C. § 1331.

       10.     Accordingly, this case is properly removable under 28 U.S.C. § 1441(a).

                              SUPPLEMENTAL JURISDICTION

       11.     This Court has supplemental jurisdiction over Plaintiffs’ state law LAD claim.

Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over all other claims that

are so related to Plaintiffs’ federal causes of action “that they form part of the same case or

controversy under Article III of the United States Constitution.” State law claims fall within this

Court’s supplemental jurisdiction when they share with the federal claims “a common nucleus of




                                                  3
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 4 of 7 PageID: 4




operative facts . . . such that [the plaintiff] would ordinarily be expected to try them all in one

judicial proceeding.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 725 (1966).

       12.     Here, the basis for Plaintiffs’ LAD claim is the same as Plaintiffs’ ADA claim.

Thus, the claims arise out of a common nucleus of operative facts. Indeed, both the state and

federal claims arise out of the following alleged facts:       Mr. Creel’s alleged patronage at

Defendant’s movie theater; the alleged lack of access to the movie theater; and the alleged lack

of parking spaces, accessible routes, and accessible bathrooms. (See Exh. A, ¶ 4.) Therefore,

this Court has supplemental jurisdiction over Plaintiffs’ state law claim pursuant to

28 U.S.C. § 1367. Moreover, there is no reason why this Court should not exercise supplemental

jurisdiction over Plaintiffs’ state law claim. Plaintiffs’ state law claims neither raise novel or

complex issues of State law nor predominates over the claim over which this Court has original

jurisdiction, and there are no exceptional circumstances or other compelling reasons for this

Court to decline supplemental jurisdiction. See 28 U.S.C. § 1367(c). Thus, removal is proper

under 28 U.S.C. § 1441(c).

                                        CONCLUSION

       13.     Defendant has not previously sought similar relief.

       14.     To date, Defendant has not filed a responsive pleading in Plaintiffs’ state court

action, and no proceedings have transpired in that action.

       15.     Pursuant to 28 U.S.C. § 1446(d), copies of this Notice of Removal have this day

been served by overnight mail upon Plaintiffs’ counsel, and will be promptly filed with the Clerk

of the Superior Court of New Jersey and the Clerk of the Superior Court of Camden County,

New Jersey.

       15.     By removing this action, Defendant does not waive, or intend to waive, any

defenses it might have including but not limited to venue, improper process, improper service of


                                                4
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 5 of 7 PageID: 5




process, lack of personal jurisdiction and/or failure to state a claim, and reserves the right to

assert all defenses herein.

       WHEREFORE, Defendant United Artists Theatre Company respectfully requests that

this Honorable Court take jurisdiction of this action and issue all necessary orders and process to

remove said action from the Superior Court of New Jersey, Camden County to the United States

District Court for the District of New Jersey.

                                                 Respectfully submitted,

                                                 OGLETREE, DEAKINS, NASH,
                                                 SMOAK & STEWART, P.C.


                                                 By: /s/ Leigh Ann Culpan
                                                     Leigh Ann Culpan
                                                     1735 Market Street, Suite 3000
                                                     Philadelphia, PA 19103
                                                     215-995-2819
                                                     215-995-2801 (fax)
                                                     leighann.culpan@ogletreedeakins.com
                                                     Attorneys for United Artists Theatre Company

Date: October 13, 2016




                                                    5
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 6 of 7 PageID: 6




                        LOCAL CIVIL RULE 11.2 CERTIFICATION

       I, Leigh Ann Culpan, Esq., counsel for Defendant certify that the matter in controversy is

not the subject of any other action pending in any court nor any pending arbitration, and that no

other action or arbitration is contemplated.



                                               OGLETREE, DEAKINS, NASH,
                                               SMOAK & STEWART, P.C.
                                               Attorneys for United Artists Theatre Company


                                               By:    /s/ Leigh Ann Culpan
Date: October 13, 2016                                Leigh Ann Culpan




                                                  6
  Case 1:16-cv-07164-RMB-JS Document 1 Filed 10/13/16 Page 7 of 7 PageID: 7




                                 CERTIFICATE OF SERVICE

       I hereby certify that, on October 13, 2016, the NOTICE OF REMOVAL & LOCAL

RULE 11.2 CERTIFICATION was filed with the Clerk of the Court in accordance with the

Federal Rules of Civil Procedure, and/or the District of New Jersey’s Local Rules and/or the

District of New Jersey’s Rules on Electronic Service. The above listed document is available for

viewing and downloading from the ECF system.

       I also served the above-referenced document on Plaintiffs, by FedEx overnight delivery,

sent to the attorney of record as follows:

             Anthony J. Brady, Jr., Esquire
             1 Rose Avenue
             P.O. Box 129
             Maple Shade, New Jersey 08052
             Attorney for Plaintiffs

    and, via prepaid first class mail, upon

             Clerk, Superior Court of New Jersey
             Law Division - Camden County
             1st Floor, Ste. 150
             101 South 5th Street
             Camden, NJ 08103

             Michelle M. Smith, Esq., Clerk
             The Superior Court of New Jersey
             Richard J. Hughes Justice Complex
             25 W. Market Street
             6th Floor North Wing
             P.O. Box 971
             Trenton, New Jersey 08625

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.

Dated: October 13, 2016                             By:     /s/ Leigh Ann Culpan
                                                            Leigh Ann Culpan

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